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                     UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW HAMPSHIRE


Christopher Polansky

                       v.
                                              Civil No. 12-cv-105-PB
NH Department of Corrections,
Commissioner, et al




                                O R D E R


      After due consideration of the objection filed, I herewith

approve the Report and Recommendation of Magistrate Judge Landya B.

McCafferty dated September 19, 2013.




      SO ORDERED.

                                        /s/ Paul Barbadoro
                                        Paul Barbadoro
                                        United States District Judge


Date: October 2, 2013

cc:   Christopher Polansky, Pro Se
      Lynmarie Cusack, Esq.
      Jonathan Lax, Esq.
